Case 3:20-cv-02947-MAS-RLS Document 1 Filed 03/17/20 Page 1 of 8 PageID: 1




                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


 IN RE: JOHNSON & JOHNSON                        MDL No. 2738 (FLW) (LHG)
 TALCUM POWDER PRODUCTS
 MARKETING, SALES PRACTICES,
 AND PRODUCTS LIABILITY
 LITIGATION
 This document relates to: Pasqualina Rausa v.
  Johnson & Johnson, et al.



                              SHORT FORM COMPLAINT
                                 AND JURY DEMAND
         The Plaintiff(s) named below file(s) this Short Form Complaint and

 Demand for Jury Trial against Defendants named below by and through the

 undersigned counsel. Plaintiff(s) incorporate(s) by reference the allegations

 contained in Plaintiffs’ Master Long Form Complaint in In re: Talcum

 Powder Products Marketing, Sales Practices, and Products Liability

 Litigation, MDL No. 2738 in the United States District Court for the District

 of New Jersey. Plaintiff(s) file(s) this Short Form Complaint as permitted by

 Case Management Order No. 1 of this Court.

         In addition to those causes of action contained in Plaintiffs’ Master

 Long Form Complaint, where certain claims require specific pleadings and/or

 amendments, Plaintiff(s) shall add and include them herein.




                                         1
Case 3:20-cv-02947-MAS-RLS Document 1 Filed 03/17/20 Page 2 of 8 PageID: 2




                        IDENTIFICATION OF PARTIES

 Identification of Plaintiff(s)

 1.       Name of individual injured due to the use of talcum powder product(s):

  Pasqualina Rausa                                                                   .

 2.   At the time of the filing of the specific case, Plaintiff(s) is/are a citizen of

  Florida                                                                            .

 3.       Consortium Claim(s): The following individual(s) allege damages for

 loss of consortium:



 4.       Survival and/or Wrongful Death Claims:

             Name and residence of Decedent Plaintiff when she suffered the

 talcum powder product(s) related death:




 5.       Plaintiff/Decedent was born on                               and died on

                                                                                     .


 6.       Plaintiff is filing this case in a representative capacity as the

                           of the                     , having been duly appointed

 as the                                               by the            Court of

                                                                                     .

                                            2
Case 3:20-cv-02947-MAS-RLS Document 1 Filed 03/17/20 Page 3 of 8 PageID: 3




    7.   As a result of using talcum powder products, Plaintiff/Decedent suffered

    personal and economic injur(ies) that are alleged to have been caused by the

    use of the products identified in Paragraph 16 below, but not limited to, the

    following:

                     X       injury to herself

                             injury to the person represented

                             wrongful death

                             survivorship action

                             economic loss

                             loss of services

                             loss of consortium

                             other:




    Identification of Defendants

    8.    Plaintiff(s)/Decedent       Plaintiff(s)    is/are   suing      the    following

    Defendant(s) (please check all that apply)1:

           ✔     Johnson & Johnson

           ✔     Johnson & Johnson Consumer Inc.


1
 If additional Counts and/or Counts directed to other Defendants are alleged by the specific
Plaintiff(s) as to whom this Short Form Complaint applies, the specific facts supporting these
allegations must be pleaded by the Plaintiff(s) in a manner complying with the requirements
of the Federal Rules of Civil Procedure, and the Defendants against whom they are alleged
must be specifically identified on a separate sheet of paper attached to this Short Form
Complaint.
                                              3
Case 3:20-cv-02947-MAS-RLS Document 1 Filed 03/17/20 Page 4 of 8 PageID: 4




               Imerys Talc America, Inc. (“Imerys Talc”)

               Personal Care Products Council (“PCPC”)

 Additional Defendants:

       Other(s) Defendant(s) (please specify):




                         JURISDICTION & VENUE

 Jurisdiction:

 9.    Jurisdiction in this Short Form Complaint is based on:

        ✔      Diversity of Citizenship

               Other (The basis of any additional ground for jurisdiction must

 be pled in sufficient detail as required by the applicable Federal Rules of Civil

 Procedure).



 Venue:

 10.   District Court(s) and Division (if any) in which venue was proper

 where you might have otherwise filed this Short Form Complaint absent the

 direct filing Order entered by this Court and to where remand could be

 ordered by the Judicial Panel for trial:

  United States District Court for the Middle District of Florida



                                            4
Case 3:20-cv-02947-MAS-RLS Document 1 Filed 03/17/20 Page 5 of 8 PageID: 5




                           CASE SPECIFIC FACTS

 11.   Plaintiff(s) currently reside(s) in (City, State):

  Ponte Vedra, Florida                                                        .

 12.   At the time of the Plaintiff’s/Decedent’s diagnosis with a talcum

 powder product(s) injury, Plaintiff/Decedent resided in (City, State):

  Ponte Vedra, Florida                                                        .

 13.   The Plaintiff/Decedent was diagnosed with a talcum powder

 product(s) injury in (City/State): Ponte Vedra, Florida              on

  June 13, 2018            (date).

 14.   To the best of Plaintiff’s knowledge, Plaintiff/Decedent began using

                                                          January 1970
 talcum powder product(s) on or about the following date: _______________

 and continued the use of talcum powder product(s) through about the

                 June 2018
 following date: ___________________.

 15.   The Plaintiff/Decedent purchased talcum powder product(s) in the

 following (State(s)): Florida, New York and North Carolina                   .

 16.   Plaintiff/Decedent used the following talcum powder products:

        ✔     Johnson & Johnson’s Baby Powder

        ✔     Shower to Shower




                                         5
Case 3:20-cv-02947-MAS-RLS Document 1 Filed 03/17/20 Page 6 of 8 PageID: 6




                               CAUSES OF ACTION

 17.   Plaintiff(s) hereby adopt(s) and incorporate(s) by reference the Master

 Long Form Complaint and Jury Demand as if fully set forth herein.

 18. The following claims and allegations asserted in the Master Long

 Form Complaint and Jury Demand are herein adopted by reference by

 Plaintiff(s):

                 Count I: Products Liability – Strict Liability – Failure to Warn
                 (Against Imerys Talc)

        ✔        Count II: Products Liability – Strict Liability – Failure to Warn
                 (Against the Johnson & Johnson Defendants)

                 Count III: Products Liability – Strict Liability – Defective
                 Manufacturer and Design (Against Imerys Talc)

        ✔        Count IV: Products Liability – Strict Liability – Defective
                 Manufacturer and Design (Against the Johnson & Johnson
                 Defendants)

        ✔        Count V: Breach of Express Warranties (Against the Johnson &
                 Johnson Defendants)

        ✔        Count VI: Breach of Implied Warranty of Merchantability
                 (Against the Johnson & Johnson Defendants)

        ✔        Count VII: Breach of Implied Warranty of Fitness for a
                 Particular Purpose (Against the Johnson & Johnson Defendants)

                 Count VIII: Negligence (Against Imerys Talc)

        ✔        Count IX: Negligence (Against the Johnson & Johnson
                 Defendants)

                 Count X: Negligence (Against PCPC)


                                          6
Case 3:20-cv-02947-MAS-RLS Document 1 Filed 03/17/20 Page 7 of 8 PageID: 7




       ✔     Count XI: Negligent Misrepresentation (Against the Johnson &
             Johnson Defendants)

       ✔     Count XII: Fraud (Against the Johnson & Johnson Defendants)

             Count XIII: Fraud (Against PCPC)

       ✔     Count XIV: Violation of State Consumer Protection Laws of

 the State of Florida, New York and North Carolina (Against the Johnson &

 Johnson Defendants).

             Count XV: Fraudulent Concealment (Against Imerys Talc)

        ✔    Count XVI: Fraudulent Concealment (Against the Johnson &
             Johnson Defendants)

             Count XVII: Fraudulent Concealment (Against PCPC)

        ✔    Count XVIII: Civil Conspiracy (Against All Defendants)

             Count XIX: Loss of Consortium (Against All Defendants)

       ✔     Count XX: Punitive Damages (Against All Defendants)

        ✔    Count XXI: Discovery Rule and Tolling (Against All
             Defendants)

             Count XXII: Wrongful Death (Against All Defendants)

             Count XXIII: Survival Action (Against All Defendants)

             Furthermore, Plaintiff(s) assert(s) the following additional

 theories and/or State Causes of Action against Defendant(s) identified in

 Paragraph nine (9) above. If Plaintiff(s) includes additional theories of




                                     7
Case 3:20-cv-02947-MAS-RLS Document 1 Filed 03/17/20 Page 8 of 8 PageID: 8




 recovery, to the extent they require specificity in pleadings, the specific facts

 and allegations supporting these theories must be pled by Plaintiff(s) in a

 manner complying with the requirements of the Federal Rules of Civil

 Procedure.




        WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against

 Defendants of compensatory damages, punitive damages, interest, costs of

 suit, and such further relief as the Court deems equitable and just, and as set

 forth in the Master Long Form Complaint as appropriate.

                                JURY DEMAND

        Plaintiff(s) hereby demand a trial by jury as to all claims in this action.



 Dated: March 17, 2020                           Respectfully Submitted by,
                                                 /s/ P. Leigh O'Dell
                                                 /s/ Brittany S. Scott
                                                 /s/ Lauren A. James
                                                 Beasley, Allen, Crow, Methvin, Portis
                                                 & Miles, P.C.
                                                 Counsel for Plaintiff(s)



                                         8
